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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)

                                                            Obj. Deadline: March 5, 2024 at 4:00 p.m. (ET)

        SUMMARY OF FOURTH MONTHLY APPLICATION OF M3 ADVISORY
     PARTNERS, LP, AS FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF
       EQUITY SECURITY HOLDERS, FOR ALLOWANCE OF COMPENSATION
          AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023


    Name of Applicant:                                 M3 Advisory Partners, LP

    Authorized to provide professional                 Official Committee of Equity Security Holders
    services to:                                       Lordstown Motors Corp., et al.

    Date of retention order:                           October 16, 2023 nunc pro tunc to September 7, 2023

    Period for which compensation and
    reimbursement sought:                              December 1, 2023 through December 31, 2023

    Compensation sought as actual,
    reasonable, and necessary:                         $69,661.60 (80% of $87,077.00)

    Expense reimbursement sought as actual,
    reasonable, and necessary:                         $176.95

    This is a(n):     X monthly            interim           final




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Prior applications:


  Application         Docket No.        Period Covered             Requested Fees           Approved Fees (80%)
                                                                  (80%) / Expenses           / Expenses (100%)
                                                                      (100%)

 First Monthly           686           9/07/2023 – 9/30/2023      $254,640.00 / $378.66      $254,640.00 / $378.66

Second Monthly           787         10/01/2023 – 10/31/2023      $187,001.60 / $346.19      $187,001.60 / $346.19

 Third Monthly           978         11/01/2023 – 11/30/2023     $109,363.60 / $7,803.44     $136,704.50 / $7,803.44




                    MONTHLY COMPENSATION BY PROJECT CATEGORY

                          Project Category                                Total Hours            Total Fees

Plan of Reorganization/Disclosure Statement                                          10.7             $12,305.00

Case Administration                                                                   2.0                  1,100

General Correspondence with Debtor & Debtors' Professionals                           1.2                 660.00

Financial & Operational Matters                                                      46.6              41,655.00

General Correspondence with Other Professionals                                       6.3               5,401.00

Financing Matters (Cash Budget, Exit, Other)                                          9.6               8,400.50

Claims/Liabilities Subject to Compromise                                             16.6              11,855.50

Tax Matters                                                                           2.0               2,300.00

Fee Application                                                                       0.5                 275.00

Contracts                                                                             2.7               2,205.00

Insurance Matters                                                                     0.8                 920.00
  TOTAL                                                                              99.0             $87,077.00




                                                         2
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                  MONTHLY COMPENSATION BY INDIVIDUAL
 Name of Professional     Position of the     Hourly       Total    Total Compensation
        Person               Applicant        Billing      Billed
                                              Rate         Hours

Winning, Robert         Managing Director         $1,150     16.6             $19,090.00
Gallagher, William      Managing Director          1,150     22.9                 26,335.00
Boffi, Jonathan         Director                    945      22.6                 21,357.00
Altman, Matthew         Associate                   550      36.9              20,295.00
Grand Total:                                                 99.0             $87,077.00




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,2                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)

                                                            Obj. Deadline: March 5, 2024 at 4:00 p.m. (ET)

      FOURTH MONTHLY APPLICATION OF M3 ADVISORY PARTNERS, LP, AS
    FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF EQUITY SECURITY
    HOLDERS, FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF
                     EXPENSES FOR THE PERIOD FROM
               DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023

         M3 Advisory Partners, LP (“M3 Partners”), Financial Advisor to the Official Committee

of Equity Security Holders (the “Committee”) of Lordstown Motors Corp., the above-captioned

debtors (the “Debtors”), hereby submits its monthly fee application (the “Application”) for entry

of an order pursuant to section 331 of title 11 of the United States Code, 11 U.S.C. §§101 et seq,

as amended (the “Bankruptcy Code”) granting interim compensation in the amount of $69,661.60

(80% of $87,077.00) and reimbursement of expenses in the amount $176.95 for the period from

December 1, 2023 through December 31, 2023 (the “Compensation Period”), and in support

thereof, M3 Partners respectfully represents as follows:

                                       JURISDICTION AND VENUE

         1.       This Court has jurisdiction over this Application pursuant to 28 U.S.C. §1334. This

is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A) and (B).

         2.       Venue of this proceeding and this Application is proper in this District pursuant to

28 U.S.C. §§1408 and 1409.


2
  The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.
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        3.       The statutory predicate for the relief sought herein is sections 1103 and 331 of the

Bankruptcy Code.

                                             BACKGROUND

        4.       On June 27, 2023, (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code (collectively the “Chapter 11 Cases”). The Chapter

11 Cases are being jointly administered for procedural purposes only pursuant to Bankruptcy Rule

1015(b).

        5.       The Debtors have continued in the possession of its property and have continued to

operate and manage its business as Debtors in possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code. No trustee or examiner has been appointed in the Chapter 11 Cases.

        6.       On July 13, 2023, the Debtors filed the Debtors’ Motion for Entry of an Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Chapter

11 Professionals and Committee Members (the “Interim Compensation Motion”) [Docket No.

111], and on July 25, 2023, the Court entered an Order approving the Interim Compensation

Motion (the “Interim Compensation Order”) [Docket No. 181].

        7.       On September 7, 2023, the United States Trustee for the District of Delaware (the

“United States Trustee”) filed its notice of appointment of the Committee pursuant to section

1102(a)(1) of the Bankruptcy Code;3 on September 7, 2023, the Committee selected Brown

Rudnick LLP (“Brown Rudnick”) as its general bankruptcy counsel, and M3 Partners as its

Financial Advisor.

        8.       On September 27, 2023, the Committee filed the Application for Entry of an Order

Authorizing the Retention and Employment of M3 Advisory Partners, LP as Financial Advisor to


3
 The Equity Committee members are the following: (1) Crestline Management, L.P.; (2) Pertento Partners LLP; and
(3) Esopus Creek Value Series Fund LP – Series “A”.
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the Official Committee of Equity Security Holders Nunc Pro Tunc to September 7, 2023 (the

“Retention Application”) [Docket No. 479]. On November 16, 2023, the Court entered an order

approving the Retention Application, Nunc Pro Tunc to September 7, 2023 [Docket No. 559].

                            SUMMARY OF SERVICES RENDERED

       9.        Time entries detailing the fees incurred during the Compensation Period, by

professional and by category, including a full and detailed statement describing the services

rendered during the Compensation Period, by each professional are attached as Exhibit A.

       10.       The total sum due to M3 Partners for professional services rendered on behalf of

the Committee during the Compensation Period is $87,077.00, which services were reasonable

and necessary.

Plan of Reorganization/Disclosure Statement – ($12,305.00)

       11.       During the Fee Period, M3 Partners performed various workstreams related to the

Debtor’s Chapter 11 plan and disclosure statement, including preparation for the Debtor’s go-

forward plan on the effective date.

Case Administration – ($1,100.00)

       12.       During the Fee Period, M3 Partners prepared a submission to the court pertaining

to yearly rate increases.

General Correspondence with Debtor & Debtors' Professionals – ($660.00)

       13.       During the Fee Period, M3 Partners corresponded regularly with the Debtors and

their professionals to discuss claims and the waterfall.

Financial & Operational Matters – ($41,655.00)

       14.       During the Fee Period, M3 Partners analyzed various items related to the Debtors’

finances and operations. Among other things, M3 Partners prepared recovery analyses, analyzed
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postpetition activities, and reviewed financial information provided by the Debtors.

General Correspondence with Other Professionals – ($5,401.00)

        15.    During the Fee Period, M3 Partners corresponded regularly with the Committee

and its counsel regarding various workstreams, including matters related to the asset waterfall, the

Debtors’ chapter 11 plan and related disclosure statement, and the Debtors’ financial projections.

Financing Matters (Cash Budget, Exit, Other) – ($8,400.50)

        16.    During the Fee Period, M3 Partners examined the Debtors’ cash flow forecast to

assess recoveries, and reviewed budgets and variance reports from the Debtors’ professionals.

Claims/Liabilities Subject to Compromise – ($11,855.50)

        17.    During the Fee Period, M3 Partners analyzed and provided updates to the

Committee on the state of the claims pool.

Tax Matters – ($2,300.00)

        18.    During the Fee Period, M3 analyzed various tax matters relating to post-emergence

structure.

Fee Application – ($275.00)

        19.    During the fee period, M3 prepared a fee application for the period ending

November 30, 2023.

Contracts – ($2,205.00)

        20.    During the fee period, M3 analyzed contracts for assumption or rejection.

Insurance Matters – ($920.00)

        21.    During the fee period, M3 analyzed and conducted diligence for post-emergence

coverage.
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                                         Disbursements

       22.     M3 Partners incurred $176.95 in expenses during the Compensation Period. A chart

detailing the specific disbursements is attached hereto as Exhibit B.

                                          Certification

       23.     The undersigned hereby attests that he has reviewed the requirements of Local Rule

2016-1 and this Application conforms to such requirements, including that travel time was not

billed at more than half rate and copying charges were only $.10 per page.
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       WHEREFORE, M3 Partners hereby requests pursuant to the procedures allowed in the

Interim Compensation Order: payment in the amount of $69,661.60, representing eighty percent

(80%) of the total fees billed ($87,077.00) and 100% of the total expenses incurred ($176.95)

during the Fee Period for a total of $87,253.95.

 Dated: February 14, 2024                          M3 ADVISORY PARTNERS, LP

                                                   /s/ Robert Winning
                                                   Robert Winning
                                                   Managing Director, M3 Advisory Partners, LP
